               Case 2:21-cv-00693-RSM Document 19 Filed 07/16/21 Page 1 of 2




 1                                                     THE HONORABLE RICARDO S. MARTINEZ

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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9
     ELIZABETH DE COSTER et al., on behalf of
10   themselves and all others similarly situated,
                                                     Case No. 2:21-cv-00693-RSM
11   Plaintiffs,
12                                                   ORDER GRANTING MOTION FOR
     v.                                              APPOINTMENT OF INTERIM CO-
13                                                   LEAD CLASS COUNSEL AND
     AMAZON.COM, INC., a Delaware                    PLAINTIFFS’ EXECUTIVE
14   corporation,                                    COMMITTEE
15   Defendant.
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     ORDER GRANTING
     MOTION TO APPOINT LEADERSHIP                              1301 SECOND AVENUE, SUITE 2000, SEATTLE, WA 98101
     CASE NO. 2:21-cv-00693-RSM                                          206.623.7292 206.623.0594 FAX
               Case 2:21-cv-00693-RSM Document 19 Filed 07/16/21 Page 2 of 2




 1            Now before the Court is the plaintiffs’ Unopposed Motion for Appointment of Interim

 2   Co-Lead Class Counsel and Plaintiffs’ Executive Committee for the Proposed Class.

 3            This motion relates to antitrust cases brought by and on behalf of consumers who

 4   purchased from Defendant Amazon’s retail platform and were harmed by Amazon’s

 5   anticompetitive conduct.

 6            The Court concludes that Hagens Berman Sobol Shapiro LLP and Keller Lenkner LLC

 7   should be appointed, and are hereby appointed, as Interim Co-Lead Class Counsel, and that

 8   Quinn Emanuel Urquhart & Sullivan, LLP and Keller Rohrback L.L.P. should be appointed, and

 9   are hereby appointed, as members of a Plaintiffs’ Executive Committee. The Court concludes

10   that such appointments will aid in achieving efficiency and economy in what is likely to be

11   expensive and complicated litigation, and that such appointments will enhance fairness to all

12   parties concerned, as well as the proposed classes.

13            In reaching these conclusions, the Court has carefully reviewed the motion and its

14   accompanying submissions, including the declarations and attachments submitted on behalf of

15   the appointed firms, and has also considered the factors outlined in Rule 23(g) of the Federal

16   Rules of Civil Procedure and other authority cited by the plaintiffs. The plaintiffs’ submissions

17   demonstrate that the appointed firms satisfy the requirements of Rule 23(g) for appointment as

18   interim lead class counsel. These include the work counsel have done in identifying or

19   investigating potential claims in the action; counsel’s experience in handling class actions, other

20   complex litigation, and the types of claims asserted in the action; counsel’s knowledge of the

21   applicable law; and the resources that counsel have available and will commit to representing the

22   class.

23            IT IS SO ORDERED.

24            DATED this 16th day of July, 2021.

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                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING
     MOTION TO APPOINT LEADERSHIP - 1
     CASE NO. 2:21-cv-00693-RSM                                         1301 SECOND AVENUE, SUITE 2000, SEATTLE, WA 98101
                                                                                  206.623.7292 206.623.0594 FAX
